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US v. Anthony Bickerton
Government’s Sentencing Submission

EXHIBIT C
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FD-302 (Rev. 10-6-95)

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FEDERAL BUREAU OF INVESTIGATION

Date of transcription 08/27/2008

On 8/27/2008, a physical surveillance was conducted in
the vicinity of 26 Rose Street, Stoughton, Massachusetts in order
to observe an FBI cooperating witness receiving law enforcement
sensitive database information in the form of Registry of Motor
Vehicle printouts from the subject of the captioned FBI
investigation. 26 Rose Street, Stoughton, Massachusetts, is the
Location of the Stoughton Police Department Headquarters ("The
Stoughton Police Department or SPD"). The following took place
during the surveillance (all times are approximate) :

4:20P . Surveillance initiated in the vicinity of SPD
headquarters located at 26 Rose Street, Stoughton, MA.

5:09P Special Agents (SA's) David S. Bell and Kenneth C.
Heitkamp meet with source in a business located in Avon,
Massachusetts. After performing a physical search of the
source, agents activate and place two body recorders on
the source.

5:26P Source leaves to meet with subject Anthony Bickerton at
the Stoughton Police Department.

5:40P Source arrives at the Stoughton Police Department.
Source observed standing outside the SPD.

5:43p Source calls SA Bell and states that subject is out
responding to a police call and will return to the SPD
in approximately 10 minutes. Source observed walking
on foot in front and beside the SPD.

5:49P Source calls SA Bell and informs that Bickerton has
asked him to get out of his car and walk around the
area of the SPD station until Bickerton returns to the
station.

5:52P SA's Mackey and Haddock observe a white male, mid 50's
wearing a yellow polo shirt and khaki pants, believed
to be subject Anthony Bickerton (hereinafter
Bickerton"), arrive at the SPD driving a gray Ford
Taurus. Source walks up to the car. Thereafter,

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8 Stoughton, MA
Investigation on at
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ie# SA David S. Bell:dsb Date dictated
GR Kenneth C. Heitkamp; SA Margaret AY Mackey; SA April L. Haddock;
vy SA John P. Keelan.

This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency;
it and its contents are not to be distributed outside your agency. Dreyer

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Continuation of FD-302 of

6:06P

6:27P

Thorn ,On 8/27/2008 , Page

source and Bickerton walk out of view behind a wall of
the SPD.

Source observed leaving SPD station via side entrance.
Source entered his/her car and departs the area.

Bickerton exits SPD and is seen talking on a cellular
telephone. Bickerton enters the gray Ford Taurus and
leaves the area.

SA Bell meets with the source in Brockton,
Massachusetts. There, SA Bell deactivates and
retrieves the two recording devices. Source provides
SA Bell with a slip of paper with a handwritten name,
address and telephone number. The slip of paper and
recordings will be entered into evidence under separate
cover.
